                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                               1:18-CV-955

ESTATE OF MARLON BRYAN LEWIS,

              Plaintiff,
                                                              ORDER APPROVING
       vs.                                                    WRONGFUL DEATH
AXON ENTERPRISE, INC., et al.,                                  SETTLEMENT

              Defendants.

TIMOTHY HILL, ANDREW FURR

              Counterclaimants

       vs.

AXON ENTERPRISE, INC., et al.,

              Counterdefendants



       The remaining parties ask the Court to approve a wrongful death settlement of all

claims, specifically as to the minor beneficiary, J.L., who is entitled under North Carolina

law to a portion of the settlement. The Court has reviewed the file and held a hearing on

February 11, 2020. Present were counsel for all parties, as well as Marsha Watkins, the

sister of the decedent Marlon Lewis and the administrator of his estate. Upon

consideration of the record and the statements of counsel and the relevant parties, the

Court finds that the settlement is fair and reasonable, particularly in light of the

difficulties of proving causation and the small amount of economic damages.

       Pursuant to the settlement, the remaining defendants or their agents SHALL pay

directly to Plaintiff’s counsel the following:




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             a. Attorney’s fees of $ 80,000.00, which the Court finds is a reasonable and

                fair amount of compensation for work performed for the benefit of the

                Estate;

             b. Expenses incurred to litigate the case of $28,371.19, which the Court finds

                were reasonably incurred and necessary to prosecute the Estate’s claim;

             c. $80,741.40 which plaintiff’s counsel SHALL distribute to the surviving

                spouse, Heidi Lewis; and

             d. $ 7,573.00 which plaintiff’s counsel SHALL distribute to Marcia Watkins

                for reimbursement for funeral, burial, and estate administration expenses.

       The minor son of the decedent and Heidi Lewis, J. L., date of birth May 1, 2007,

is entitled to $28,314.41 as his share of the settlement, under applicable North Carolina

law and as increased by Ms. Lewis’ agreement that the funeral expenses should come

from her share of the estate. This is fair and reasonable. Within fourteen days, the

defendants or their agents SHALL pay to the Clerk of Court the sum of $28,314.41

which the Clerk SHALL hold and invest in the Court Registry Investment System (CRIS)

for the benefit of J. L. until his eighteenth birthday. Within fourteen days, plaintiff’s

counsel SHALL file under seal a copy of J. L.’s birth certificate and a statement of his

current address, and SHALL advise J. L.’s mother about the need to keep the Clerk

advised of J. L.’s current address. On written request of J. L. , submitted under oath as to

his identity and entitlement to the funds and with sufficient documentation of his

identity, such as a driver’s license or other government identification accompanied by his

birth certificate and an affidavit from a family member, the Clerk SHALL disburse the


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funds to J. L. no earlier than May 2, 2025. If no application is made by July 31, 2025,

the Clerk shall send a notice addressed to J. L. at his last known address.

       To protect the minor beneficiary and reduce the possibility of fraud, the Court will

redact personal information of the minor beneficiary from the copy of this order filed on

the public docket and the unredacted original order shall be filed under seal. Absent

motion and order otherwise, the Clerk shall unseal this order on May 2, 2030.

       All remaining claims and counterclaims are resolved by this settlement, and the

case is DISMISSED with prejudice.

     SO ORDERED, this the 18th day of February, 2020.




                                  ________________________________________
                                      UNITED STATES DISTRICT JUDGE




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